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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 3.2.2
                                 Eastern Division

Glen Ellyn Pharmacy, Inc.
                                        Plaintiff,
v.                                                        Case No.: 1:09−cv−03323
                                                          Honorable William T. Hart
Quintiles Consulting, Inc., et al.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 8, 2009:


       MINUTE entry before the Honorable William T. Hart:Motion hearing set for
7/16/2009 is stricken. Defendant Wyeth's motion for extension of time to 7/28/2009 to
answer or otherwise plead [25] is granted. Status hearing reset to 7/30/2009 at 11:00 AM.
Mailed notice(clw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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